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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     KEY WEST DIVISION

                                       CASE NO.: 18-CR-10035-KMM

  UNITED STATES OF AMERICA,

                          Plaintiff,

  vs.

  ZHAO, QIANLI,

                          Defendant.
                                                         /

   DEFENDANT’S MOTION TO CONSIDER ADDITIONAL FACTORS IN SENTENCING

           Defendant, ZHAO QIANLI (“Mr. Zhao”), by and through counsel, hereby moves the Court

  to consider additional factors in sentencing and in support states as follows:

        1. The U.S Attorney’s Office and Mr. Zhao have reached a plea agreement.

        2. The plea and sentencing hearing is set for February 5, 2019, during which time, Mr. Zhao

           will accept the plea offer and execute the plea agreement.

        3. Because the plea and the sentencing are set for the same day, the probation office prepared

           a Modified Sentencing Report without conducting any interview of Mr. Zhao.

        4. The undersigned counsel contacted the U.S. Probation Officer, Cherie A. Audette, who

           advised the undersigned that since it is a modified report, their office will not revise the

           report unless the plea and the sentencing are separate and the court gives them enough time

           to interview Mr. Zhao. Ms. Audette further advised the undersigned to provide any

           additional information or documents to the Court directly in writing.

        5. Mr. Zhao is a college student majoring in Musicology at College of Information and

           Business, North University of China. He came to the U.S. through a Summer Work Travel

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        J1 Visa Exchange Visitor Program offered by Life Adventures, Inc. Copies of the J1

        application package and the Summer Work Travel Employment Agreement are attached

        as Exhibit A.

     6. The Summer Work Travel Exchange Visitor Program was a three-and-a-half-month

        program that started on June 1, 2018 and ended on September 15, 2018. Mr. Zhao had a

        thirty-day grace period to depart the U.S. after the expiration of his J1 visa.

     7. Mr. Zhao arrived in the U.S. on around May 30, 2018. At the end of the program, Mr. Zhao

        wanted to tour the U.S. and booked an air ticket to travel to Miami on September 19, 2018.

        Mr. Zhao also purchased the return ticket to China and was supposed to depart the U.S. on

        September 30, 2018. He signed on a tour through Chengdu Universal Travel Corporation

        Wuhou and went to Key West on September 26, 2018 when he mistakenly went to the

        Navy base, JIATF-South. Enclosed as Exhibit B please find Mr. Zhao’s Travel History

        Record.

     8. Mr. Zhao’s English is limited and did not know that it was a military base when he entered

        JIATF-South. He was lost while touring Key West and saw some interesting structures

        while inside the naval base. Out of curiosity, Mr. Zhao took some pictures and videotaped

        some buildings.

     9. Upon his arrest, Mr. Zhao has been very cooperative with the government’s investigation

        and confessed to the FBI and the U.S. Attorney’s Office what he did.

     10. Mr. Zhao has been penalized a lot for his mistake. He was sentenced to two months in

        Monroe County Jail for trespassing. He is currently in custody for the offense in the

        underlying case. He missed one semester of school and will miss the spring semester of

        2019 as well.



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      11. Mr. Zhao has depression and has been taking medication in China and the U.S. His parents

          worry about him and his health very much and expect him to return to China as soon as

          possible. Enclosed as Exhibit C please find pictures of medication Mr. Zhao was using.

          These pictures were taken by the FBI after a search of Mr. Zhao’s belongings and provided

          to the undersigned as part of the discovery package.

      12. Mr. Zhao has no prior criminal history other than the trespassing conviction and the

          underlying offense both of which arise out of the same incident.

      13. Mr. Zhao will be transported to Krome Detention Center for removal proceedings at the

          completion of his term of imprisonment.

      14. Considering the fact that Mr. Zhao has fully cooperated with all investigations of the case,

          he is a college student who needs to return to school immediately, he entered the naval base

          unknowingly and did not know he was not allowed to take pictures or videotape there, he

          has medical needs for his depression, and he has been penalized for the same incident by

          three different governmental agencies, we therefore respectfully request that the Court

          make a sentencing determination that will include minimal jail time and/or some

          alternatives to jail time.

          WHEREFORE, Defendant, Qianli Zhao, respectfully requests that this Court make a

  favorable sentencing determination in his behalf that will include minimal jail time and/or some

  alternatives to jail time.




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     Dated: January 31, 2019.
                                                        THE LAW OFFICE OF HONGWEI
                                                        SHANG, LLC
                                                        7350 SW 89th Street, Suite 100
                                                        Miami, Florida 33156
                                                        Phone: (305) 670-5266
                                                        Fax: (305) 670-5299
                                                        Email: hshanglaw@gmail.com

                                                        S/Hongwei Shang____________________
                                                        Hongwei Shang, Esquire
                                                        Florida Bar No.: 0037199
                                                        Attorney for Defendant



                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

  31st day of January, 2019, via court e-filing system to:

  Michael Sherwin
  Assistant United States Attorney
  99 N.E. 4th Street
  Miami, Florida 33132
  Phone: (305) 961-9067
  Fax: (305) 536-4675
  Email: Michael.Sherwin@usdoj.gov

                                                         S/ Hongwei Shang
                                                        Hongwei Shang




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                              EXHIBIT A
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                                Life Adventures proof of funds and budget sheet

  All participants on the Work & Travel program must provide financial documents verifying
  proof of funds to cover expenses and living cost during your visit to the USA.

  Participant Name:                L a s t _ _ _Zhao
                                                  _______ First ___qianli____

  Agency Representative: L a s t _ _ _ _ _ Lei_ _ _ _ _ _ _                  F i r s t _ _ _ _Ladia_ _ _
   (if applicable)

  We hereby certify that the above participant has provided us with verifiable proof
  of financial resources of no less than US$1,000.00 to cover the cost of living expenses for the first
  month in the USA, or until this participant receives his/her first paycheck. These funds must be
  readily available to the participant to cover all necessary expenses associated with living in the
  United States for a minimum of one month without pay.

  These funds will go to cover costs associated with, but are not limited to, housing expenses, housing deposits, daily
  meals, local transportation passes, airport transfers, domestic air/bus/train travel, phone calls, internet use, leisure
  activities, and employment uniform and certification fees. This US$1000.00 in available funds does NOT include
  the standard cost required before leaving your country, such as the program fees, roundtrip flight to the
  USA, and SEVIS and US visa fees.

  The source for the participant’s funds will be provided through (select one these options below):
          1. ( ) Participant's personal funds
  Name of Bank where account is held or source of Credit
          2. ( ) Family’s financial support
  Full Name of Parent or Legal Guardian Name (and their relation to the participant)

           3. ( ) Other (please explain)

  As the J1 Participant, undersigned here, I understand that if I fail to secure sufficient financial
  resources to support myself during my participation on the Work & Travel program in the USA,
  then Life Adventures reserves the right to expel me from the program and terminate my J-1
  sponsorship in the USA.

  J1 Participant Signature        _____________________________________                          Date _____________________
                                                                                                       14/01/2018

  Agency, undersigned here, representing the Work & Travel program acknowledge that this
  participant has provided me with the documentation to verify sufficient proof of funds of no less than
  US$1000.00, and that this participant will have access to these funds while participating on the
  program.

  AgencyRepresentativeSignature _____________________________                           14/01/2018
                                                                              Date:____________________________
  (if applicable)
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                           Budget Sheet for Planning Income and Expenses
                                    (To be completed by Participant)

   To make sure you understand your financial situation while in the U.S., we request that you
   complete this budget sheet, sign it at the bottom, and attach it to your application form. Please
   also keep a copy for your records. The International Student Work and Travel Program
   is not a moneymaking program. The goal of the J-1 visa is to foster educational exchange. Upon
   arrival to the U.S. you should have no less than $1000 for initial living expenses until you receive your first
   paycheck. Depending on your job type/location, living arrangement, and transportation
   requirements, you may need even more. It is your responsibility to properly budget your finances for
   the duration of your time in the United States as a J-1 Exchange Visitor.

   EXPECTEDINCOMEANDPERSONALRESOURCEAPPROXIMATE TOTAL GROSS INCOME
   $______4320_______ Total gross income equals total work weeks X the average work hours per week X
   your hourly rate.(Example: 12 weeks X 40 hours per week X US$9 per hour = US$4320.)
   APPROXIMATE TOTAL NET INCOME
   $_______3672________ Subtract 15% for payroll withholding tax from your total gross
   income. (Example: US$4,320 X 0.85 = US$3,672)
    PERSONALRESOURCES:
   $________1000_______
    TOTALNETINCOMEANDPERSONALRESOURCES:
   $______4672_________ (Add total net income and personal resources.)

   EXPECTEDEXPENSES (Figure expenses for the total number of weeks you will be in the U.S.)
   Fees paid to recruiter:      $__2980___
   Visa application fee:      $____160___________
   SEVIS fee:          $_____35__________
   International airfare:     $_______1000________
   Accommodations upon arrival in the U.S. (if necessary): $____50___________
   Transportation to host site from port of entry: $______0_________
   Security deposit for apartment/dormitory at host site:        $_____0__________
   Apartment/dormitory rent:        $_____1200__________
   Transportation to/from work:       $_____50__________
   Miscellaneous expenses not included in rent (sheets, towels, pots and pans,
   etc.): $______100_________
   Food (Budget $50-75 per week if you cook your own meals. Budget more if you eat out.): $_____1000_____
   Entertainment (movies, museums, etc.): $_____100__________
   Personal/Other (telephone, stamps, etc.): $______200_________
   TOTALEXPECTEDEXPENSES                  $______2650________
   REMAININGMONEYFORTRAVEL $_______2022________ (Subtract total expected expenses from
   total net income and personal resources.)

   I understand that the above financial data is an estimate made by me. This form is meant to be a tool to
   help participants anticipate and budget expenses. Actual income and expenses may vary.

    J1 Participant Signature        __________________________________________ Date :14/01/2018
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                                                                    LIFE ADVENTURES PROGRAM AGREEMENT



This agreement is between Life Adventures, Inc. and Qianli Zhao
                                                                                           . participant’s first and last name
                                                        Please print clearly below:
   Country of Origin:     China   Passport #:                    DOB:    03     / 14 /               (mm/dd/
   yyyy)
   Participant’s Email:            @qq.com        Participant’s Skype               @qq.com
   Emergency Contact Person:                                               Relationship:      Father
   Emergency Contact Person’s Email:                      @qq.com          Cell Phone:


By signing the agreement I declare that I have read, understood and agree to the following:
The Program
     a. Cultural Component
     1. The Summer Work Travel J1 Exchange Visitor Program is not solely a work program but has a required cultural component.
         Participants must participate in at least one cultural activity outside of work (gatherings, local events, sporting events,
         community events, festivals, etc.) in order to expand their knowledge of American culture and life.
     2. Participant is required to report on these cultural activities each month during his/her 30-­‐day check in. Failure to participate in
         this required cultural component can result in the termination of theprogram.
     b. Communication with Life Adventures
     1. Participant must provide Life Adventures with an up-­‐to-­‐date working e-­‐mail address and is required to check-­‐in at least once a
         month from the time he/she been accepted and while in the USA. Participant is responsible for giving updates about changes to
         e-­‐mail address, work/living address, change of jobs, cultural exchange, etc.
     c. Program Termination
     1. The following actions can result in the termination of the program: failure to confirm validation of the program within 10 days
         of the DS2019 start date, failure to check in with Life Adventures every 30 days of the active program, working for a prohibited
         employer or for one not verified by Life Adventures, failure to participate in cultural activities, failure to pursue program
         activities, failure to submit a change of current address within 10 days, failure to maintain health insurance, conviction of a
         crime, violation of Exchange Visitor Program regulations or violation of Life Adventures program rules, including failure to
         attend the mandatory Pre-­‐departure Orientation meeting and leaving your US employer without following all Life Adventures
         procedures.
     2. Participant terminated from the program will result in their sponsorship ending, their SEVIS status changed to "terminated,"
         and requiring immediate departure in the US. Termination status can affect your ability to obtain visas to the US in the future.
     d. Program Shortage
     1. If participant decides to end his/her program before the end date specified on the DS2019 form, participant must follow the
         procedures for leaving an employer early and inform Life Adventures to change their SEVIS status to “inactive”. After this is
         done the participant can begin their 30-­‐day grace period.
Fees
     1. All fees for sponsorship, SEVIS, and insurance must be paid in advance of issuance of DS2019. Failure to do so may result in
         delay or cancellation of issuance of DS2019. Life Adventures is not responsible for such delays or cancellations and any
         consequent loss or/and moral harm.
Cancellation and Refund
     1. If any, refunds will be given at Life Adventures discretion and per your home country agency agreement. Refunds will not be given
         for loss of housing deposit, transportation fees, or any additional expenses incurred during your stay in the US.
     2. In case of cancellation for any reason, Life Adventures is not responsible for any other expenses incurred by the participant (e.g.
         U.S. consulate visa fees, transportation costs or penalties, etc).
     3. Once the participant arrives in the US and/or starts the program, there will be no refund of any program fees, regardless
         of the reason why the participant cannot or chooses not to continue the program.

As a J1 Summer Work Travel participant, I agree to abide at all times to the rules set forth by the State Department and Life
Adventures pertaining to J1 Exchange Visitor Program:

Participant’s Signature                                                                                                               Page 1
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Acceptance
      1. Participant must be at least 18 years and not older than 29 years of age by 1 May 2016; be enrolled full-­‐time at an accredited
          post-­‐secondary (tertiary) academic institution outside of the United States and have successfully completed at least one
          semester.
      2. Participant must have English language skills sufficient to successfully function on a day-­‐to-­‐day basis in an English language
          environment. Life Adventures or a Life Adventures approved representative / recruiter will conduct an interview to help you
          better understand the program and to assess your English language proficiency, work skills and experience.
Documentation
      1. Participant must have a valid passport with an expiration date at least 6 months after the program end date.
      2. The application form and supporting papers are legal documents. Any false, misleading or withheld information on your
          application or inappropriate behavior during your interview, prior to departure for the USA or during your participation on the
          program, are grounds for immediate cancellation from the program without refund. Participant is required to inform Life
          Adventures of any changes in information provided within your initial application, including but not limited to: health
          conditions, student status, availability dates, and contact details. Failure to do so may result in immediate cancellation from the
          program without refund.
Medical Insurance
      1. Life Adventures provides the mandatory 3-­‐month medical insurance coverage as part of the program fees. If participant
          chooses to stay in the US more than 3 months, participant can pay US $80 for additional month prior to entering the US, or
          after the program end date if chosen to do so. Life Adventures recommends extending insurance coverage to include any time
          in the US during the grace period.
      2. Insurance policy is compulsory for the dates on the DS2019 form.
      3. The insurance policy includes accident, sickness and medical evacuation coverage. Insurance does not cover pre-­‐existing
          conditions or car insurance. In the case of an accident or illness, it is participant’s responsibility to submit a claim form with all
          original documentation and follow the procedures set out by the insurance company, this information can be found on the
          medical insurance website provided before your arrival. All claims, processing, and queries are between you and the insurance
          company. Please see the insurance documents provided before departure for full details of the coverage.
Pre-­‐arranged Employment
      1. U.S. State Department regulations require that all participants have a pre-­‐arranged Job Offer before traveling to the US.
          Participant is required to provide a fully completed Job offer form no later than 1 April 2018, which will be verified with the
          employer.
      2. If a job presented for vetting is proved false, participant agrees to pay an additional a US $75 fee should s/he chooses to submit
          another job offer for vetting.
      3. Should participant choose to change his/her pre-­‐arranged employment before departure for the United States, s/he agrees to
          pay an additional US$50 fee to vet and approve that location.
Summer Employment
      1. It is a requirement of J1 visa that participant is employed while on the program in the USA. Participant agrees that the
          minimum work time on the program will be 3 weeks and the maximum will be 4 months.
      2. Failure to maintain employment during the dates of the visa can result in the early ending of the visa. Participant is eligible for a
          30-­‐day grace period after the end date on the DS2019 form. This grace period is to prepare for return home and/or to travel
          ONLY within the borders of the USA.
      3. Participant must report to his/her verified employer. Working for any employer that has NOT been verified and approved by
          Life Adventures will result in immediate termination from the program as required by State Department regulations. Only if
          participant is given permission to not go to the verified employer, participant will be required to have a new job offer that Life
          Adventures will verify.
Leaving or Changing/Employer
      1. Participant is expected to complete the full dates on the job offer. If participant wants to leave the employer before the end
          date and not find another employer, he/she must obtain approval from Life Adventures to do so. If permission is given,
          participant will be required to give his/her employer two-­‐week notice and to work through the two weeks if the employer
          requires this and the 30 day grace period for travel begins at the last date of employment.
      2. In case of changing employers, participant must provide his/her new Job offer form fully completed and signed to Life
          Adventures to be verified within 10 days after leaving the initial employer.
Social Security
      1. In order to work in the USA, participant must apply for and be issued a Social Security card within first 2 weeks in the US,
          information on how to receive your SSN will be provided before or upon arrival.
      2. Life Adventures is not responsible for the time it takes to process Social Security number.

As a J1 Summer Work Travel participant, I agree to abide at all times to the rules set forth by the State Department and Life
Adventures pertaining to J1 Exchange Visitor Program:

Participant’s Signature                                                                                                                  Page 2
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Housing and Other Leaving Expenses
      1. Unless the employer provides or arranges housing, participant is required to make housing arrangements.
      2. Participant is required to inform Life Adventures should any housing information change during the program. Changes are
          required to be in writing to Life Adventures via web site or e-­‐mail.
      3. Participant must have access to US funds of US $1200 to cover living expenses and/or any personal needs prior to receiving a first
          paycheck.
J1 Summer Work Travel Visa
      1. The DS2019 form used to apply for the J1 visa will be issued once participant have verified his/her Job Offer form with Life
          Adventures, have paid all program fees and provided all the required documentation.
      2. Visa dates must conform to the State Department approved SWT dates for participant’s country.
      3. If there are changes to any personal information or the dates of the program after the DS2019 is issued, there is a US$25 fee to
          change specific information, and a US$50 fee to reprint a newform.
      4. The U.S. consulate charges fees for the processing of the J-­‐1 visa. An additional fee of US$35 for the SEVIS system must be paid
          prior to visa interview with the U.S. Embassy or consulate.
      5. Participant must enter the U.S. by the start date on the DS2019 form and validate the program with Life Adventures within the
          required 10 days. Failure to validate the program within the required 10 days will result in a SEVIS status of "No Show" which
          means participation in the program has been cancelled. If at any point participant realizes their arrival will be later than the
          begin date on the DS2019 they must report this to Life Adventures immediately.
      6. Participant is required to check in with Life Adventures upon arrival and every 30 days after the date of the program validation
          during their stay in the US. Failure to check in will result in a SEVIS status of "terminated" which means participation in the
          program has been cancelled, and will require their immediate return home.
      7. If participant chooses to extend their program dates-­‐ to remain within allowed dates as determined by the Department of
          State, they can contact Life Adventures for this request; if approved they agree to pay an additional $100 for processing and
          extension of medical insurance.
Pre-­‐departure Orientation
      1. Life Adventures through its recruiting companies provides a mandatory pre-­‐departure Orientation meeting in the participant’s
          home country to give detailed information about the J-­‐1 visa, program rules and life in the United States. U.S. government
          regulations require that participant attend this orientation. Failure to do so will result in the cancellation of the program
          without refund.
      2. Participant must provide Life Adventures a Pre-­‐departure Orientation sign list to confirm attendance prior departure from
          his/her home country.
Travel
      1. Participant must purchase roundtrip air flight to and from the USA and to the employer.
      2. Participant must provide Life Adventures copies of the flight itinerary prior to departure to the US. Participant must provide life
          Adventures copies of the flight itinerary if any changes indates.
      3. Before arrival
Personal Background
      1. Participant acknowledges that he/she has not been arrested and/or convicted of any alcohol related offense, including driving
          While intoxicated in the last 5 years.

By submitting my name below, I acknowledge that I have read and understand the Agreement and that violation of any of the terms of
this agreement may result in Program cancellation. Such cancellation will mean immediate termination of my sponsorship and forfeiture
of all program fees paid. Further, this termination will result in my Visa no longer being in effect and I will be required to immediately
return to my home country.




                                                                      |                                           |    02/26/2018
      PARTICIPANT’S FIRST AND LAST NAME (please PRINT)                                 SIGNATURE                      DATE (mm/dd/yyyy)




As a J1 Summer Work Travel participant, I agree to abide at all times to the rules set forth by the State Department and Life
Adventures pertaining to J1 Exchange Visitor Program:

Participant’s Signature                                                                                                              Page 3
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                                                            SUMMER WORK TRAVEL PARTICIPANT
                                                    PRE-DEPARTURE ORIENTATION CONFIRMATION


     I was provided with pre−departure orientation material outlining US entry information, program obligations, US laws,
and other necessary information that I may need for the success of the program.
     I understand that my sponsor is my first point of contact in the US and will support and assist me in times of need. I
also understand that my sponsor requires that I maintain compliance with the program regulations and is obligated to
terminate my program if I fail to meet my responsibilities.
     For my convenience, my sponsor has outlined here some of the main points included in this material to emphasize my
responsibilities and obligations. Failure to comply fully with these or other program regulations may result in the
termination or early end of my program. If my program is terminated or ended early, I must return home immediately at my
own cost and no refund of program fees will be provided.
     Please tick the boxes below:
        I am responsible for reporting to my sponsor my expected entry date and departure date and must update my
        sponsor of any changes prior to my departure.
        I must arrange my arrival in accordance with arrival practices of my employer and I must arrive in time to attend my
        contracted first day of work. Any travel delays or cancellations that would affect my ability to meet this obligation
        must be reported to my sponsor and my employer.
        I must check−in with my sponsor within 5 days of my program beginning date as indicated in Section 2 of my
        DS2019 or my visa and confirm my specific US address and employment.
        I must check−in with my sponsor within every 30 days after my initial check-in and confirm my specific US address
        and current employment.
        I must adhere to the required continued communication as outlined by my sponsor.
        I must update my sponsor of any change of US address including relocation of building or bunk.
        I must respond to any sponsor initiated communication within 5 days.
        I must endeavor to complete my employment as per the contract submitted to my sponsor and must report any
        grievances to my sponsor.
        I am only permitted to work for the employer initially approved for my sponsorship and indicated on my form
        DS2019. Accepting unapproved employment is not permitted under any circumstance.
        Secondary/Alternate employment can only be approved after undergoing the proper process for employer vetting
        and approval. I understand that potential employers must be willing to provide my sponsor with required
        documentation including a seasonality survey, business license copy, and workman’s compensation policy.
        I understand that termination of my initial employment (voluntarily or involuntarily) does not automatically permit
        me to seek for or accept alternate employment. My sponsor will consider the reason for termination and a decision
        will be made regarding my visa status. If I remain in good standing and want to continue my program, I am
        permitted to seek alternate employment or request assistance from my sponsor in securing alternate employment,
        but I must have adequate funds accessible to me to cover all living expenses and travel during this search. If
        alternate employment is not found or approved within 10 days, I can choose to return home at my expense or I can
        request an extension to continue seeking employment. I understand that extensions are only permitted if I can
        show that I have access to funds to cover additional living expenses. If I do not have accessible funds, I understand
        that I will have to return home at my expense.
        I must engage in cultural activities and report such activities to my sponsor.
        I must maintain medical insurance coverage for the entire length of my program.
        I must abide by all US laws.
        I must not bring disrepute to my employer, my sponsor or the program as a whole.



                                                                            02/08/2018
______________________________________|_________________________________|______________
     PARTICIPANT’S FIRST AND LAST NAME (please PRINT)                   SIGNATURE                              DATE
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                                                                       02/24/2018
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                              EXHIBIT B
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   Page 1



   9:58AM

   Travel History

   New York (Check Info)

   May 29 Tuesday

   Beijing – New York

   Transfer in Los Angeles                                                        (Check Order)



                                  First Trip          Second Trip



   American Airlines AA010 May 29 Departure

   Los Angeles T4            5h32m             John F. Kennedy International T8

   21:00 Departure……………………………………………………05:32 (add one day) 05/30/2018

   Baggage Belt 7

   ZHAO/QIANLI


     Delete the trip

   …………End……………
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   Page 2



   9:59AM Travel History

    Delete the trip


   Miami （Check Info）

   September 19 Wednesday

   Philadelphia – Miami

   Transfer in Atlanta                                          (Check Order)



                                  First Trip           Second Trip




   Delta DL1494 September 19 Departure

   Philadelphia International D                2h12m                     Hartsfield-Jackson

   11:51 Departure………………………………………………………………………………………………..14:03 Arrival

   Baggage Belt 6

   ZHAO/QIANLI



    Delete the trip
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   Page 3


   9:59AM Travel History

    Delete the trip



   Miami （Check Info）
   September 19 Wednesday
   Philadelphia – Miami
   Transfer in Atlanta




                                  First Trip   Second Trip



   Dalta DL1956 September 19 Departure

   Hartsfield-Jackson                1h56m            Miami International S

   16:07 Departure………………………………………………………………………………18:03 Arrival

   Baggage Belt 5

   ZHAO/QIANLI




    Delete the trip
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   10:00AM

   Travel History

   September 26 Wednesday

   Local Travel                                       Confirmed

   Miami Departure, Renyou American Tour Key West

   Key West 1day trip Shuttle included

   Departure Date 2018-09-26 Wednesday 1 Adult



    Delete the trip




   Miami (Check Info)

   September 19 Wednesday

   Philadelphia – Miami                             (Check Order)

   Transfer in Atlanta



                                    First Trip      Second Trip



   Delta DL1956 September 19 Departure
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   10:01

   Travel History

   New York (Check Info)

   September 29 Saturday

   Miami – New York

   American Airlines AA1171 September 29 Departure

   Miami International                        3h5m     LaGuardia B

   19:54 Departure………………………………………………………………………..……………22:59 Arrival

   Baggage Belt C



   ZHAO/QIANLI



    Delete the trip
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   10:01AM

   Beijing (Check Info)

   September 30 Sunday

   New York – Beijing                               (Check Order)

   Transfer in Chicago

                                  First Trip         Second Trip



   American Airlines AA030 September 30 Departure

   LaGuardia B                     2h34m                     Chicago O'Hare T3

   13:30 Departure……………………………………………………………………………….15:04 Arrival

   Entrance D4

   ZHAO/QIANLI



    Delete the trip
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   10:01AM

   Travel History

   Beijing (Check Info)

   September 30 Sunday

   New York – Beijing

   Transfer in Chicago                                     (Check Order)



                                  First Trip        Second Trip




   American Airlines AA187 September 30 Departure

   Chicago O'Hare T3                    13h25m              Beijing Capital International T2

   17:55 Departure…………………………………………………………………………………20:20 (Add one day) 2018-10-01

   Baggage Belt 8

   ZHAO/QIANLI



    Delete the trip
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